  

UNITED STATES DISTRICT COURT:, Gen, 8. Listge
EASTERN DISTRICT OF TENNESSEE "si ctor Fe ed
AT. Ay See

on te Cr, re
Chattirorgs. fren

Name of plaintiff (s)/ U Y

Case No. \: JO-CV- 95 PLR (CHS

(to be assigned by Clerk)

 

 

 

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1. A short and plain statement of the grounds for filing this case in federal court (include federal
statutes and/or U.S. Constitutional provisions, if you know them):

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Laaued an Light og . te th Laaod BH &
Tas aw tanasa fe Devas nti, (EEOC. La wusctiolb dle)
2. Plaintiff, cA £h fox J 2 Hr sé resides at
<4tbOe te oek wo. LY, , C hathareorenges.
city

street address

dhruibl..$ Bo, , 370s, Wes) 209-24

county state zip code telephone number

(if more than one plaintiff, provide the same information for each plaintiff below)
AA, kb

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lives at, or its business is located at

 

address city
eta fr—zt— > SZ, t ye Tae YS
county ; state zip code

(if more than one defendant, provide the same information for each defendant below)

be bow.

 

 

 

4. Short and plain statement of your claim (state as briefly as possible the facts of your case and
how each defendant is involved. You may use additional paper if necessary):

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5. A demand for judgment for the relief you seek (list what you want the Court to do):

 

 

 

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» fr yh ej ’
We Ketiah thin EEOC ¥ Gla /wlations-
I (We) hereby certify under penalty of perjury that the above complaint is true to the best of
my (our) information, knowledge and belief.

Sioned this. 27 — wyOo oe Aiwency ,DO.
ZL OL: Dbeap
Lae A & boven

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Signature of plaintiff (s)
ZEOS Leodmont DP.
Chhectlanoos™ Tr. STIS

(42.3) 203- o4ib
(yz.3) B2b- 5 Bb

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